      Case 1:21-cr-00399-RDM           Document 326         Filed 10/29/24      Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,

        v.                                              Criminal Action No. 21-399 (RDM)

 ROMAN STERLINGOV,

                Defendant.


                                            NOTICE

       The Court contacted the U.S. Sentencing Commission seeking information as to what

sentences judges have imposed over the past fifteen years for convictions under 18 U.S.C.

§ 1956, where the relevant guideline is § 2S1.1(a)(2) with a final offense level of 43, and

Criminal History Category of I. The U.S. Sentencing Commission provided the following

response:

       We have been advised that the case involves a conviction under 18 U.S.C.
       § 1956, and that the guideline that applies in the case is 2S1.1. We also
       have been advised that the base offense level (BOL) has been determined
       under subsection (a)(2) of that guideline, based on the amount of loss in the
       case, that there is no adjustment for acceptance of responsibility, and that
       the resulting final offense level is 43. Also, we understand that the
       defendant is not providing substantial assistance to the
       government. Finally, we understand that the defendant has been assigned
       to Criminal History Category I.

       We searched our records for the last ten fiscal years looking for cases that
       met the search criteria. We found only three cases. As you may appreciate,
       a final offense level of 43 is extremely unusual in general, and especially in
       2S1.1 cases when the BOL under the money laundering guideline is based
       on the loss table from 2B1.1. The sentences in those three cases were 121
       months, 156 months, and 240 months.

       In order to provide additional information to you, we reran our search
       without the limitation on the lack of an adjustment for acceptance of
       responsibility. This provided only two more cases meeting the remaining
      Case 1:21-cr-00399-RDM      Document 326      Filed 10/29/24     Page 2 of 2




      search criteria. The sentences in those cases were 36 months and 360
      months.



                                              /s/ Randolph D. Moss
                                              RANDOLPH D. MOSS
                                              United States District Judge


Date: October 29, 2024




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